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                                          UNITED STATES BANKRUPTCY COURT
                                                  District of Colorado

In Re

Sosa, Jose Alfredo & Sosa, Ingrid Sofia                                     Case No: 14-26150

                                                                            Chapter 13
      Debtor(s)

                                           FIRST AMENDED CHAPTER 13 PLAN
                           INCLUDING VALUATION OF COLLATERAL AND CLASSIFICATION OF CLAIMS

CHAPTER 13 PLAN: This chapter 13 plan dated February 19, 2015 supersedes all previously filed plans.

NOTICE TO CREDITORS: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file an
objection with the bankruptcy court by the deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file
a timely objection, you will be deemed to have accepted the terms of the plan, which may be confirmed without further notice or hearing.

MOTIONS FOR VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11 U.S.C. § 506: (Check
any applicable box(es)):

[ ]   This plan contains a motion for valuation of personal property collateral and determination of secured status under 11 U.S.C. § 506.

[ ] The debtor is requesting a valuation of real property collateral and determination of secured status under 11 U.S.C. § 506 by
separate motion. List status of motion here (i.e.. date filed, date granted, to be filed contemporaneously, etc.)

SECURED CLAIMS SUBJECT TO VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11
U.S.C. § 506 (additional detail must be provided at Part IV of the plan):

 Name of Creditor                                                     Description of Collateral (pursuant to L.B.R. 3012-1)
 None


I.    BACKGROUND INFORMATION

A. Prior bankruptcies pending within one year of the petition date for this case:

 Case Number & Chapter                         Discharge or Dismissal / Conversion           Date
 None


B. The debtor(s):           [X]       is eligible for a discharge; or
                            [ ]       is not eligible for a discharge and is not seeking a discharge.

C. Prior states of domicile:         within 730 days N/A
                                     within 910 days M/A

      The debtor is claiming exemptions available in the [X] state of Colorado or [ ] federal exemptions.

D. The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C. § 101(14A). Notice shall be provided
   to these parties in interest:



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        1. Spouse/Parent           N/A
        2. Government              N/A
        3. Assignee or other       N/A

The debtor [ ] has provided the Trustee with the address and phone number of the Domestic Support Obligation recipient or [X]
cannot provide the address or phone number because it/they is/are not available.

E. The current monthly income of the debtor, as reported on Interim Form B22C is [X] below, [ ] equal to, or [ ] above the applicable
   median income.

II. PLAN ANALYSIS

A. Total Debt Provided for under the Plan and Administrative Expenses

    1. Total Priority Claims (Class One)
       a.        Unpaid attorney’s fees                                                                        $               7,000
       (Total attorney’s fees are estimated to be $ 8,000 of which $ 1,000 has been prepaid.)
       b.        Unpaid attorney’s costs (estimated)                                                           $                300
       c.        Total Taxes                                                                                   $                  0
                 (Federal $ 0; State $ 0;Other $ 0)
    2. Total of payments to cure defaults (Class Two)                                                          $              6,820
    3. Total payment on secured claims (Class Three)                                                           $                  0
    4. Total of payments on unsecured claims (Class Four)                                                      $             17,080
    5. Sub-total                                                                                               $             31,200
    6. Total trustee's compensation (10% of debtor's payments)                                                 $              3,120
    7. Total debt and administrative expenses                                                                  $             34,320


B. Reconciliation with Chapter 7

THE NET PROPERTY VALUES SET FORTH BELOW ARE LIQUIDATION VALUES RATHER THAN REPLACEMENT VALUES. THE
REPLACEMENT VALUES MAY APPEAR IN CLASS THREE OF THE PLAN.

   1. Assets available to Class Four unsecured creditors if Chapter 7 filed:
      a.      Value of debtor’s interest in non-exempt property                                               $              18,679


                                                               Less costs                     x Debtor’s   Less
Property                                       Value           of sale       Less Liens       Interest     Exemptions = Net Value
13965 Hudson St., Thornton, CO 80602                287,000         23,920       158,125         100%             90,000    14,955
Cash on hand                                             20              0             0         100%                 15         5
Key Bank - Checking (xx 0618)                           145              0             0         100%                109        36
1st Bank - Checking (xx 8351)                           230              0             0         100%                173        58
50% Interest in Bellavista Therapy Group
Inc.                                                   4,028           403                0      100%                 0      3,625


        b.       Plus: value of property recoverable under avoiding powers:                                    $                  0
        c.       Less: estimated Chapter 7 administrative expenses:                                            $             12,090
        d.       Less: amounts payable to priority creditors other than costs of administration:               $                  0
        e.       Equals: estimated amount payable to Class Four creditors if Chapter 7 filed                   $              6,589


2. Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus any funds recovered from “other property”
   described in Section III.A.3 below. $17,080


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III. PROPERTIES AND FUTURE EARNINGS SUBJECT TO THE SUPERVISION AND CONTROL OF THE TRUSTEE

A. The debtor submits to the supervision and control of the Trustee all or such portion of the debtor's future earnings or other future
   income as is necessary for the execution of the Plan, including:

    1. Future earnings of $ 222 per month which shall be paid to the trustee for a period of approximately 60 months, beginning
       1/02/2015.


                   Amount                                 Number of Months                                      Total
                      222                                            4                                          888
                      597                                           56                                         33,432
         One time payment and date

    2. Amounts for the payment of Class Five post-petition claims included in above $ 0
    3. Other property (specify): None

AT THE TIME THE FINAL PLAN PAYMENT IS SUBMITTED TO THE TRUSTEE, THE DEBTOR SHALL FILE WITH THE COURT
THE CERTIFICATION REGARDING DOMESTIC SUPPORT OBLIGATIONS REQUIRED BY 11 U.S.C. § 1328(a) AND, IF NOT
ALREADY FILED, INTERIM FORM B23 REGARDING COMPLETION OF FINANCIAL MANAGEMENT INSTRUCTION REQUIRED
BY 11 U.S.C. § 1328(g)(1).

B. The debtor agrees to make payments under the Plan as follows:
[X] DIRECT PAYMENT: From Debtor to Trustee                     [X] DIRECT PAYMENT: From Joint Debtor to Trustee
[ ] VOLUNTARY WAGE ASSIGNMENT TO EMPLOYER:                     [ ] VOLUNTARY WAGE ASSIGNMENT TO EMPLOYER:

A. Class One – Claims entitled to priority under 11 U.S.C. § 507. Unless other provision is made in paragraph V.(C), each creditor
   in Class One shall be paid in full in deferred cash payments prior to the commencement of distributions to any other class (except
   that the payments to the Trustee shall be made by deduction from each payment made by the debtor to the Trustee) as follows:

   1. Allowed administrative expenses
      a.      Trustee's compensation (10% of amounts paid by debtor under this Plan)                             $                 3,120
      b.      Attorney's Fees (estimated and subject to allowance)                                               $                 7,000
      c.      Attorney's Costs (estimated and subject to allowance)                                              $                   300


    2. Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 (if none, indicate)

         a.       Domestic Support Obligations: A proof of claim must be timely filed in order for the Trustee to distribute
                  amounts provided by the plan.
         [ ]      Priority support arrearage: The debtor owes past due support to
                  in the total amount of $                                                      that will be paid as follows:

         [ ]      Distributed by the Trustee pursuant to the terms of the Plan; or
         [ ]      The debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or J) in the
                  amount of $                       to                                                 . Of that monthly amount, $
                  is for current support payments and $                       is to pay the arrearage.
         [ ]      Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the Court
                  and submit to the Trustee an update of the required information regarding Domestic Support Obligations and the
                  status of required payments.

         b.       Federal Taxes                                                                                  $                          0
         c.       State Taxes                                                                                    $                          0


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           d.    Other Taxes (describe): None                                                                   $                     0
           e.    Other Class One Claims (if any) (describe): None                                               $                     0


B. Class Two – Defaults
   1. Class Two A (if none, indicate) – Claims set forth below are secured only by an interest in real property that is the debtor's
       principal residence located at 13965 Hudson St., Thornton, CO 80602 . Defaults shall be cured and regular payments shall
       be made:
       [ ] None

                                                                                                          Regular
                                                                                                          Payment per
                                                          Total                     Total                 month to be
                                                          Default                   Amount to   No. of    Made
                                                          Amount to      Interest   Cure        Months to Directly to Date of First
Creditor                                                  be Cured       Rate       Arrearage   Cure      Creditor    Payment
Adams County Treasurer                                          2,501 3.00%         2,645       14        238           02/15/2015
Bank Of America, N.A.                                           2,945 0.00%         2,945       14        877           01/01/2015
Chase Bank                                                      1,230 0.00%         1,230       14        360           01/01/2015

    2. Class Two B (if none, indicate) – Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by an interest
       in real property that is the debtor's principal residence) or unsecured claims set forth below on which the last payment is due
       after the date on which the final payment under the Plan is due. Defaults shall be cured and regular payments shall be made:
       [X] None

                                                                                                          Regular
                                                                                                          Payment per
                                                          Total                     Total                 month to be
                                                          Default                   Amount to   No. of    Made
                                                          Amount to      Interest   Cure        Months to Directly to Date of First
Creditor                    Collateral                    be Cured       Rate       Arrearage   Cure      Creditor    Payment

    3. Class Two C – Executory contracts and unexpired leases are rejected, except the following which are assumed:
       [X]None

                                                                                                        Regular
                                                                                                        Monthly
                                                                                                        Payment
                                                                                    Total        No. of Made
                                         Property, if any, Subject to the           Amount to Months to Directly to      Date of
Other Party to Lease or Contract         Contract or Lease                          Cure, if any Cure   Creditor         Payment

IN THE EVENT THAT DEBTOR REJECTS THE LEASE OR CONTRACT, CREDITOR SHALL FILE A PROOF OF CLAIM OR
AMENDED PROOF OF CLAIM REFLECTING THE REJECTION OF THE LEASE OR CONTRACT WITHIN 30 DAYS OF THE ENTRY
OF THE ORDER CONFIRMING THIS PLAN, FAILING WHICH THE CLAIM MAY BE BARRED.

C. Class Three – All other allowed secured claims (other than those designated in Classes Two A and Two B above) shall be
   divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

    1. Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with FED. R. BANKR. P. 3012, 7004 and L.B.R.
       3012-1, the debtor has filed and served a separate motion for valuation of collateral and determination of secured status under
       11 U.S.C. § 506 as to the real property and claims listed on page 1 of this plan and below. The plan is subject to the court’s
       order on the debtor’s motion. If the court grants the debtor’s motion, the creditor will have an unsecured claim in the amount of
       the debt as stated in any timely filed, allowed proof of claim, including such claims within thirty days from entry of an order

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           determining secured status under FED. R. BANKR. P. 3002(c)(1) and (3). The creditors listed on page 1 and below shall retain
           the liens securing their claims until discharge under 11 U.S.C. § 1328, or, if the debtor is not eligible for discharge, upon the
           debtor’s successful completion of all plan payments and the closing of the case.
           [X] None

                                                        Description of Collateral                              Proof of Claim amount, if
Name of Creditor                                        (pursuant to L.B.R. 3012-1)                            any

    2. Secured claims subject to 11 U.S.C. § 506 (Personal Property): The debtor moves the court, through this chapter 13 plan,
       for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding the personal property and
       claims below. The creditors shall retain the liens securing their claims until discharge under 11 U.S.C. §1328 or payment in full
       under nonbankruptcy law.
           None

           a.       The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the allowed claim
                    shall be treated as a general unsecured claim.

                                                                                                                   Monthly
                                                                           Confirmation    Amount of               Adequate
                                                                           Value of        Debt as   Interest      Protection     Total Amount
Creditor                               Description of Collateral           Collateral      Scheduled Rate          Payment        Payable

           b.       The following creditors shall be paid the remaining balance payable on the debt over the period required to pay the
                    sum in full.

                                                                                                                    Monthly
                                                                           Confirmation    Amount of                Adequate
                                                                           Value of        Debt as   Interest       Protection    Total Amount
Creditor                               Description of Collateral           Collateral      Scheduled Rate           Payment       Payable

If adequate protection payments are indicated, such payments will be made by the trustee to the creditors indicated above until such
time that superior class creditors are paid in full. Any adequate protection payments made will be subtracted from the total amount
payable. Unless otherwise provided, adequate protection payments will accrue from the date of filing but will not be made until the
creditor has filed a proof of claim.

    3. Secured claims to which 11 U.S. C. § 506 shall not apply (personal property): The following creditors shall retain the liens
       securing their claims, and they shall be paid the amount specified which represents the remaining balance payable on the debt
       over the period required to pay the sum in full:
       [X] None

                                                                                                       Amount of                 Total
                                                                                                       Debt as       Interest    Amount
Creditor                                            Description of Collateral                          Scheduled     Rate        Payable

    4. Property being surrendered: The debtor surrenders the following property securing an allowed secured claim to the holder
       of such claim:
       [X] None

Creditor                                                Property                                               Anticipated Date of Surrender




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Relief from the automatic stay to permit enforcement of the liens encumbering surrendered property shall be deemed granted by the
Court at the time of confirmation of this Plan. With respect to property surrendered, no distribution on the creditor’s claim shall be made
unless that creditor files a proof of claim or an amended proof of claim to take into account the surrender of the property.

IF DEBTOR IS PROPOSING TO MODIFY THE RIGHTS OF CREDITORS IN CLASS TWO AND/OR THREE, DEBTOR MUST
SPECIFICALLY SERVE SUCH CREDITOR IN THE MANNER SPECIFIED IN FED. R. BANKR. P. 9014 AND 7004.

D. Class Four – Allowed unsecured claims not otherwise referred to in the Plan. Class Four Claims are provided for in an
   amount not less than the greater of:

    1. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth in Part II; or
    2. Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).

                The monthly disposable income of $ 0 has been calculated on Form B22C (Chapter 13). Total disposable income is $ 0
                which is the product of monthly disposable income of 0 times the applicable commitment period of 36 months.

           a.       [X] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment by the
                Trustee of all prior classes; or

           b.       [ ] Class Four claims are divided into more than one class as follows:

A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. § 523(a)(2), (4), or (6), will share pro-rata in the
distribution to Class Four. Collection of the balance is stayed until the case is dismissed, converted to a Chapter 7 or discharge enters,
unless ordered otherwise.

E. Class Five (if none, indicate) – Post-petition claims allowed under 11 U.S.C. § 1305. Post-petition claims allowed under 11
   U.S.C. § 1305 shall be paid as follows:
   [X] None

V. OTHER PROVISIONS

A. Payment will be made directly to the creditor by the debtor(s) on the following claims:

                                                                                                             Monthly         No. of
                                                                                                             Payment         Months to
Creditor                                               Collateral, if any                                    Amount          Payoff
Northbrook Homeowners Association, Inc.                13965 Hudson St., Thornton, CO 80602                             25


B. The effective date of this Plan shall be the date of entry of the Order of Confirmation.

C. Order of Distribution:

           1.       [X] The amounts to be paid to the Class One creditors shall be paid in full, except that the Chapter 13 Trustee’s fee
                    shall be paid up to, but not more than, the amount accrued on actual payments made to date. After payment of the
                    Class One creditors, the amounts to be paid to cure the defaults of the Class Two A, Class Two B and Class Two C
                    creditors shall be paid in full before distributions to creditors in Classes Three, Four, and Five (strike any portion of
                    this sentence which is not applicable). The amounts to be paid to the Class Three creditors shall be paid in full before
                    distributions to creditors in Classes Four and Five. Distributions under the plan to unsecured creditors will only be
                    made to creditors whose claims are allowed and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and
                    after payments are made to Classes One, Two A, Two B, Two C and Three above in the manner specified in Section
                    IV.

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           2.      [ ] Distributions to classes of creditors shall be in accordance with the order set forth above, except:

    D. Motions to Void Liens under 11 U.S.C. § 522(f).

    In accordance with Fed. R. Bankr. P. 4003(d), the debtor intends to file or has filed, by separate motion served in accordance with
    Fed. R. Bankr. P. 7004, a motion to void lien pursuant to 11 U.S.C. § 522(f) as to the secured creditors listed below:

                                                                                                                            Date of Order
                                                                                                         Date Motion to    Granting Motion
Creditor                                             Collateral, if any                                  Void Lien Filed     or Pending
None


E. Student Loans:
   [ ] No student loans
   [X] Student loans are to be treated as an unsecured Class Four claim or as follows:

F. Restitution:
   [X] No restitution owed.
   [ ] The debtor owes restitution in the total amount of $                           which is paid directly to
       in the amount of $                      per month for a period of             months.
   [ ] The debtor owes restitution to be paid as follows:

G. Other: (list all additional provisions here):
    Debtors propose step up plan payments. Debtor is licensed real estate agent. Debtor to return to real estate business,
    part time, commencing January 2015. Debtor anticipates income of approximately $375 per month commencing May
    2015. Historically, debtor has averaged approximately $4500 per year as a part-time real estate agent.

VI. REVESTMENT OF PROPERTY IN DEBTOR
All property of the estate shall vest in the debtor at the time of confirmation of this Plan.

VII. INSURANCE

Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will [X] will not [ ] (check one) be
obtained and kept in force throughout the period of the Plan.
[X] Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.

VIII. POST-CONFIRMATION MODIFICATION

The debtor must file and serve upon all parties in interest a modified plan which will provide for allowed priority and allowed secured
claims which were not filed and/or liquidated at the time of confirmation. The value of property to satisfy 11 U.S.C. § 1325(a)(4) may be
increased or reduced with the modification if appropriate. The modification will be filed no later than one year after the petition date.
Failure of the debtor to file the modification may be grounds for dismissal.

Dated: February 19, 2015
                                                                              /s/ Jose Alfredo Sosa
                                                                              Signature of Debtor




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/s/ Stephen E. Berken                           /s/ Ingrid S Sosa
Signature of Attorney                           Signature of Joint Debtor
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